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UNITED STATES OF AMERICA                                CRIMINAL COMPLAINT

       v.

ALEXANDER BRAZHNIKOV                                    Magistrate No. 14-3677
 aka "Alexandre Brajnikov,"
ABN UNIVERSAL, INC.,
ZOND-R, INC.,
TELECOM MULTIPLIERS, and
ELECTRONICS CONSULTING


        I, Chetwyn M. Jones, the undersigned complainant being duly sworn, state the following is

true and correct to the best of my knowledge and belief.

                                       SEE ATTACHMENT A

        I further state that I am a Special Agent with the Federal Bureau of Investigation ("FBI"),

and that this complaint is based on the following facts:

                                       SEE ATTACHMENT B

continued on the attached page and made a part hereof.



                                                              ~··
                                                        ChetW}If1: neS,Special Agent
                                                        Federal Bureau of Investigation


Sworn to before me and subscribed in my presence,


June 26. 2014                              at
Date

Honorable Mark Falk
United States Magistrate Judge
Name & Title of Judicial Officer




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                                    ATTACHMENT A


                                        Count One

                        Conspiracy to Commit Money Laundering

      From in or about January 2008 through in or about June 2014, in Union County, in
the District of New Jersey and elsewhere, the defendants ALEXANDER BRAZHNIKOV
aka "Alexandre Brajnikov," ABN UNIVERSAL, INC., ZOND-R, INC., TELECOM
MULTIPLIERS, and ELECTRONICS CONSULTING, together with others, did knowingly
and intentionally conspire with each other and others to transmit and transfer monetary
instruments and funds from a place outside the United States, to wit, Russia, to a place in
the United States, to wit, New Jersey, with the intent to promote the carrying on of
specified unlawful activity, namely the smuggling of electronics components from the
United States contrary to Title 18, United States Code, Section 554(a), and contrary to
Title 18, United States Code, Section 1956(a)(2)(A), in violation of Title 18, United States
Code, Section 1956(h).

                                        Count Two

                  Conspiracy to Smuggle Goods from the United States

     From in or about January 2008 through in or about June 2014, in Union County, in
the District of New Jersey and elsewhere, the defendants ALEXANDER BRAZHNIKOV
aka "Alexandre Brajnikov," ABN UNIVERSAL, INC., ZOND-R, INC., TELECOM
MULTIPLIERS, and ELECTRONICS CONSULTING, together with others, did knowingly
and intentionally conspire and agree with each other and with others to fraudulently
export and send from the United States merchandise, articles, and objects, including
electronics .components, contrary to Title 13, United States Code, Section 305, and to
receive, conceal, buy, sell and in any manner facilitate the transportation, concealment,
or sale of such merchandise, articles and objects, prior to exportation, knowing the same
to be intended for exportation, contrary to Title 18, United States Code, Section 554(a).

   In furtherance of the conspiracy and to effect its unlawful objects, the above-listed
defendants and their co-conspirators committed and caused to be committed the overt
acts, among others, in the District of New Jersey and elsewhere, as set forth in
Attachment 8 below, in violation of Title 18, United States Code, Section 371.
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                                     ATTACHMENT B


        I, Chetwyn M. Jones, am a Special Agent with the Federal Bureau of Investigation
("FBI"). I am fully familiar with the facts set forth herein based on my own investigation, my
conversations with other law enforcement officers, and my review of reports, documents,
and other pertinent items of evidence. Where statements of others are related herein,
they are related in substance and in part. Because this complaint is being submitted for
a limited purpose of establishing probable cause to support the issuance of a complaint
and arrest warrant, I have not necessarily included each and every fact that I know or that
other law enforcement agents know concerning this investigation. Where I assert that an
event took place on a particular date, I am asserting that it took place on or about the day
alleged.

                                       The Defendants

1.     The defendant ALEXANDER BRAZHNIKOV aka "Alexandre Brajnikov," is the
owner, chief executive officer, and principal operator of the following privately held, New
Jersey business entities: (a) defendant ABN UNIVERSAL, INC., a microelectronics
export company formerly located in Carteret, NJ; (b) defendant ZOND-R, INC., a
microelectronics export company with its principal place of business in Union, NJ; (c)
defendant TELECOM MULTIPLIERS, a microelectronics export company with its
principal place of business in Mountainside, NJ; and (d) defendant ELECTRONICS
CONSULTING, INC., a microelectronics export company with its principal place of
business in Manalapan, NJ (hereinafter, collectively, the "NJ Export Companies").

                                  Summary of Investigation

  2.      DefendantALEXANDER BRAZHNIKOVaka "Alexandre Brajnikov," (hereinafter,
  "Brazhnikov") and the defendant NJ Export Companies, together with others known and
  unknown (hereinafter, collectively, the "defendants"), are part of an illicit, sophisticated,
  international electronics procurement network that is designed to surreptitiously acquire
  large quantities of electronic components from United States manufactures and vendors,
  and to export those parts to Russia, on behalf of Russian business entities that are
. authorized to supply those parts to the Ministry of Defense of the Russian Federation, as
  well as the Federal Security Service of the Russian Federation (the "FSB"). Over
  approximately the last four years, this network has obtained and exported over $65
  million worth of electronics from the United States to Russian business entities in violation
  of export control laws, as further described herein.

3.       An investigation conducted by the FBI beginning in or about December 2012 has
revealed that the defendants' Moscow-based conspirators are responsible for obtaining
initial requests for quotes ("RFQs") for U.S. electronics components from various Russian
entities, including licensed defense contractors. Those requests were then
communicated by the Moscow-based conspirators either directly to U.S. vendors by
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electronic means or by sending the requests to the defendants in the U.S. Using the NJ
Export Companies, the defendants finalize the purchase and acquisition of the requested
components from the various U.S.-based distributors. In order to make these
purchases, however, the defendants conceal the true identity of the ultimate end-user1 of
the components in Russia. Upon receipt of the components at the NJ Export
Companies' locations, defendant Brazhnikov and his co-conspirators re-packaged and
prepared the parts for export to Russia via various shipping companies based in New
York and New Jersey. In violation of U.S. export control laws, defendant Brazhnikov and
his co-conspirators falsified the true value of the exported items on shipping documents in
order to evade the legal requirement of filing an Electronic Export Information («EEl") via
the Automated Export System ("AES"), 2 thereby concealing their export activities from
the United States.

4.      In addition to falsifying the value of the parts they export, the defendants routinely
and systematically concealed the true destination of the parts they were exporting by
directing that the shipments be sent to various recipients and addresses in Russia which
are controlled by the Moscow-based conspirators. Specifically, an exhaustive review of
banking records, purchase invoices, and shipping documents recovered in this
investigation has' identified approximately 1,670 shipments directed by the defendants to
locations in Russia over approximately the last four years. Significantly, all of the
shipments sent to the various named recipients in Russia have been traced to a total of
twelve unique addresses in Moscow. These addresses are all located within six miles of
one another, and law enforcement agents have confirmed that none of the addresses
hosts any entity that could be described as a manufacturer, distributor, dealer, or any
entity actually affiliated with the business of acquiring, shipping or selling electronics
components. In fact, several of the addresses have been identified as vacant
apartments or storefronts. Additionally, of the remaining shipments identified during this

1 The U.S. Department of State ("DOS") and the U.S. Department of Commerce ("DOC") require
that certain forms (i.e., 'end-user agreements') be properly executed in connection with the export
of controlled items. The DOS requires a completed form DSP-83 be included as a part of an
application for authorization to export significant military equipment and classified equipment or
data. See, 22 C.F.R. §§ 123.10(a), 124.10 and 125.7. The form DSP-83 must be completed by
the appropriate foreign persons (e.g., consignee, end-user, government) and forwarded to the
DOS through the U.S. person/entity making the application. The DOC requires that a completed
form BIS-711 ("Statement by Ultimate Consignee and Purchaser'') be included as part of an
application for authorization to export certain controlled items, subject to the parameters of 15
C.F.R. §§ 748, et. seq.
2 Criminal penalties for unlawful export information activities as they pertain to EEl's (formerly

known as Shipper's Export Declaration ("SED") forms) are prescribed by 13 U.S.C. § 305.
Generally, a DOC Form 7525-V (referred to herein as an "SED Form") is required for all
shipments sent to foreign countries regardless of the method of transportation, subject to certain
restrictions. As it applies to the instant investigation, SED forms must be filed when: (i) an item
requires an export license; (ii) is bound for an embargoed country; or (iii) the value of the item(s) is
greater than $2,500 (U.S.). SED forms are electronically filed with the DOC through the
Automated Export System ("AES").
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timeframe that were initially addressed to recipients in Finland or Germany, law
enforcement agents have traced the final destination of those shipments to one of the
twelve known Moscow addresses. Based on these facts, and other information obtained
during this investigation, law enforcement agents have concluded that each of the twelve
addresses contained in the six mile radius in Moscow act as shell entities utilized by the
defendants as part of their ongoing, illicit procurement of U.S. electronics components.
The use by the defendants of these recipient shell entities indicates that the defendants
systematically falsify the true end-user of the electronics components they obtain from
U.S. vendors and subsequently export to Russia.

5.      As further detailed herein, funds for these illicit transactions are obtained from the
various Russian purchasers, which are initially deposited into one of the defendants'
primary Russia-based accounts. Disbursements for purchases were made from that
primary Russian account through one or more foreign accounts held by "shell"
corporations in the British Virgin Islands ("BVI"), Latvia, Marshall Islands, Panama,
Ireland, England, United Arab Emirates, and Belize, and ultimately into one of the
defendants' U.S.-based accounts. The defendants transferred monies from the U.S. to
Russia in the same fashion. The defendants' creation and use of dozens of shell
companies was intended to conceal the true sources of funds in Russia, as well as the
identities of the various Russian defense contracting firms who were receiving U.S.
electronics components.

                                     Financial Records

6.     Documents seized by FBI personnel pursuant to a court-authorized search
warrant for an e-mail account used by defendant Brazhnikov included a
computer-generated spreadsheet. This spreadsheet contained accounting records for
at least 28 separate bank accounts in four different countries (U.S., Russia, Germany,
and Cyprus) ove·r which accounts defendant Brazhnikov had direct access and/or control.
As explained further below, from in or about 2010 through the present, these accounts
have been consistently funded by incoming wire transfers from over 50 different overseas
shell corporations.

7.     According to FBI analysis, from July 2010 to February 2014, approximately
$65,000,000 in wire transfers passed between the 28 accounts and the foreign shell
companies. Upon receipt of the wire transfers to the defendants' U.S.-based accounts,
banking records show that the defendants routinely made purchases of U.S.-based
electronic components for subsequent export to Russia.

8.      Significantly, one of the Russian bank accounts (hereinafter, the "Funding
Account") has been identified as the primary account from which each of the wire
transfers were initiated through the overseas shell companies to the defendants'
U.S.-based accounts in 2013. Seized accounting records indicate that during the 2013
fiscal year, over $15,000,000 was wire transferred from the Funding Account to the shell
companies. Each of the wire transfers sent from the Funding Account to a given shell
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company corresponded to a subsequent wire transfer from the shell company to one of
the defendants' business accounts in New Jersey. These records show that the Funding
Account is the primary funding and operations account for the financial network the
defendants used to conduct their illicit export activities.

9.     Further analysis of the spreadsheet and banking records has revealed that
deposits into the Funding Account came from multiple sources, including numerous
Russian businesses that are authorized to supply electronic components and parts to the
Ministry of Defense of the Russian Federation and the Federal Security Service of the
Russian Federation (the "FSB"). Other Russian companies making deposits into the
Funding Account were involved in the design of nuclear warheads, as well as nuclear
weapons strategic and tactical platforms.

10.    Seized documents and banking records3 have revealed the following partial list of
at least fourteen known entities that have made significant deposits to the Funding
Account, and that have been confirmed as authorized and/or licensed contractors for the
Russian military and intelligence services:

      a.     lmotek: A Russian company authorized to supply parts to the Ministry of
             Defense of the Russian Federation;
      b.     VNIIA: Also known as "All Russia Research Institute of Automatics," a
             Russian institute involved in the development of nuclear weapons for
             strategic and tactical platforms and firing and neutron initiation systems for
             nuclear weapons;
      c.     VNIITF: Russia's second nuclear warhead design institute;
      d.     Zao Atlas-Kard: A Russian company authorized to supply parts to the
             FSB;
      e.     Zao Besant: A Russian company authorized to supply parts to the FSB;
      f.     Zao Protection Group Jutta: A Russian company authorized to supply
             parts to the FSB;
      g.     OAO Scientific and Production Association: A Russian company
             authorized to supply parts to the FSB;
       h.    OAO Instrument Plant Tensor: A Russian company authorized to supply
             parts to the FSB;
      i.     000 Ancud: A Russian company authorized to supply parts to the FSB;
      j.     FGUP Eleron: A Russian company authorized to supply parts to the FSB;
       k.    000 O.P.T.: A Russian company authorized to supply parts to the FSB;
       I.    Avionika VPK: A Russian company authorized to supply parts to the
             Ministry of Defense of the Russian Federation;



3Accounting records and other documents seized in this case contained both English and
Russian language notations. The names of the Russian companies used in this affidavit have
been translated from Russian to English.
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      m.     CTU STC: A Russian manufacturer of vehicles, antennas, tracking
             devices, and communication equipment for the Ministry of Defense of the
             Russian Federation and the FSB; and
      n.     VEKTOR: A Russian company with licenses from the FSB to provide
             components for the communication networks of Russian nuclear facilities.

11.    As stated, analysis of the Funding Account indicates that over $15,000,000 was
wire-transferred from this account to the shell companies in 2013 alone. As monies were
wire-transferred from the Funding Account to a given shell company, a subsequent wire
transfer was found from the shell company to one of the Subjects' export business
accounts in New Jersey.

12.     For example, on or about December 18, 2013, the Funding Account received a
deposit of approximately $188,500 from Avionika VPK, a Russian-based supplier of
electronics for the Russian military. On or about December 20, 2013, o.ne of Zond-R's
N.J.-based accounts received a deposit in the same amount from a shell company
identified as Moriksen AG, indicating that the Funding Account was utilized by the
Subjects to secretly send funds from Russia to the U.S. to facilitate the purchase and
export of goods for a Russian company licensed to supply goods to the Russian military.

13.     Similarly, in or about January 2013, the Funding Account received approximately
$350,000 by lmotek, a licensed supplier of electronics parts for the Russian military. On
or about February 13, 2013, the Funding Account wire-transferred $250,000.00 to Smoky
Hills S.A., a shell company located in the Marshall Islands. Bank records indicate that on
or about February 13, 2013, one of the defendants' NJ bank accounts received a wire
transfer from Smoky Hill S.A. in the amount of approximately $250,000.00. The
defendants then utilized funds in that account to make subsequent purchases of
electronics parts, which were then exported to a Moscow address controlled by the
defendants' Russia-based conspirators.

14.     Further, the Funding Account was funded over two hundred times in 2013, for a
total of approximately $710,716, by CTU STC, a licensed supplier of electronics parts for
the Russian military and FSB. A review of the Funding Account has revealed that CTU
STC funds were dispersed by the defendants through shell companies located worldwide
to the defendants' bank accounts in New Jersey, and that these funds were used to make
subsequent purchases of electronics components. For example, on or about March 14,
2013, a shell company identified as Pevoni Holdings LTD ("Pevoni"), located in Tortora,
BVI, received a wire transfer in the amount of $150,000 from the Funding Account.
Subsequently, one of the defendants' NJ bank accounts received a wire transfer from
Pevoni in the same amount. Thereafter, from on or about March 15, 2013, through on or
about March 26, 2013, the defendants used the same NJ bank account to order
electronics components from two U.S. electronics vendors, totaling approximately
$124,129. Similarly, on or about March 20,2013, a shell company identified as Lentar,
Ltd. ("Lentar"), located in Belize City, Belize, received a wire transfer in the amount of
approximately $248,000 from the Funding Account. Subsequently, one of the
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defendants' NJ bank accounts received a wire transfer from Lentar in the same amount.
Thereafter, from on or about March 26, 2013, through on or about April 30, 2013, the
defendants used the same NJ bank account to order electronics components from a U.S.
electronics vendor totaling $240,623.

15.     Additionally, FBI agents have analyzed the records of nine export business
accounts believed to be owned, operated or controlled by defendant Brazhnikov and his
conspirators, as well as nine personal bank accounts belonging to defendant Brazhnikov.
The records covered the period from on or about July 1, 2010, through on or about April
16, 2014. The primary source of funding for all nine business accounts can be traced,
directly or indirectly, to the approximately $65,000,000 in wire transfers received from the
overseas shell companies.

16.    As stated, the Subjects used the funding from the shell companies to purchase
millions of dollars of electronic components, electronic parts, and related items from U.S.
manufacturers and U.S. distributors, many of which were subsequently exported to
Russia at fraudulently diminished values, as further described below.

                                  Illegal Export Activities

17.    Over approximately the last four years, law enforcement agents have identified
approximately 1,923 separate export shipments originated by the defendants in the U.S.
The majority of these overseas shipments were facilitated through a shipping company
located in Melville, NY (hereinafter, the "SC"). Significantly, of the identified exports
shipped in this timeframe, law enforcement officers have been unable to identify a single
corresponding EEl form for an SC shipment of an export originated by the defendants.

18.    Presumably, the absence of EEl forms for those shipments would indicate the vast
majority of the defendants' exports during this timeframe would have had a value of less
than $2,500. However, agents have discovered numerous occasions where the
defendants knowingly falsified shipping documents to devalue the true worth of their
exports. Examples of the defendants' attempts to conceal their ongoing illicit
procurement activities are further described below.

19.    Law enforcement officers have obtained and reviewed numerous invoices for
purchases made by the defendants from a semiconductor manufacturer located in
Newbury Port, Massachusetts (hereinafter, "SM"). Specifically, on or about March 4,
2013, records reveal that the defendants purchased three SM microchips containing part
number CY7C253KV18-500BZC (the "Microchips"), for a total price of $1 ,326.99. The
defendants' purchase of the Microchips was funded through a credit card in defendant
Brazhnikov's name, and the invoice directed that SM ship the items to the NJ Export
Companies.

20.    Agents subsequently obtained a shipping invoice from SC, dated March 6, 2013,
containing the details of a shipment sent from the defendants to an address in Moscow,
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under the attention of "Siminovsky Val 12/66," which has been identified as one of the
twelve shell addresses controlled by the defendants. The packing list for the shipment
contained a line item for the Microchips with a listed value of $5.15 total (or approximately
0.38% of the parts' actual value based on information obtained via open source law
enforcement databases). The shipment contained additional line item entries for other
electronics components, and the defendants prescribed a total value of $154.45 for all of
the goods contained in the shipment.

21.    A further review of the additional items contained in the March 6, 2013 shipment,
however, revealed similar devaluation of the true cost of the items contained therein. In
fact, every other item listed in that shipment was devalued by the same 0.38% factor.
Accordingly, law enforcement agents have concluded that the true value of the
electronics components contained in the March 6, 2013 shipment was approximately
$39,000. Significantly, no EEl form accompanied this shipment, in violation of U.S.
export laws.

22.    Additional invoices and shipping documents recovered from SM and SC,
respectively, reveal similarly illicit purchase and export activity. Specifically, on or about
March 15, 2013, records reveal·that the defendants purchased quantities of two more SM
parts for a total price of $477.90. The defendants' purchase of these parts was funded
through a credit card in defendant Brazhnikov's name, and the invoice directed that SM
ship the items to the NJ Export Companies~

23.    Law enforcement officers subsequently obtained a shipping invoice from SC,
dated March 21, 2013, containing the details of a shipment sent from the defendants to a
recipient purportedly in Finland. The packing list for the shipment contained line items
for each of the aforementioned SM parts with a listed value of $7.99 total (or
approximately 1.67% of the parts' actual value, based on information obtained via open
source law enforcement databases). The shipment contained additional line item
entries for other electronics components, and the defendants listed a total value of
$1 ,845. 76 for all of the goods in the shipment.

24.    A further review of the additional items contained in the March 21, 2013 shipment
revealed similar devaluation of the true cost of the items contained therein. In fact,
according to a review of open source pricing databases, every other item listed in that
shipment was devalued by the same 1.67% factor. Accordingly, law enforcement agents
have concluded that the true value of the electronics components contained in the March
21, 2013 shipment was approximately $110,000. Significantly, no EEl form
accompanied this shipment, in violation of U.S. export laws.

25.     The transactions identified are indicative of the defendants' pervasive efforts to
intentionally devalue exports in order to evade the necessity of filing an EEl form. By
secreting the value of the electronic components they export, the defendants are able to
conceal the true scope of their unlawful venture.

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                               FORFEITURE ALLEGATION

The Complaint alleges the following for the purpose of noticing forfeiture pursuant to Title
18, United States Code, Section 982.

As the result of committing one or more of the money laundering offenses in violation of
Title 18, United States Code, Section 1956, alleged in the criminal complaint, defendant
shall forfeit to the United States pursuant to Title 18, United States Code, Section 982, all
property, real and personal; involved in the money laundering offense(s) and all property
traceable to such property, including but not limited to the following:

1.   REAL PROPERTY

a)     All that lot or parcel of land, together with its buildings, appurtenances,
improvements, fixtures, attachments and easements, located at 177 Longwood Drive,
Unit 177, Oak Knoll Townhouses, Manalapan, New Jersey 07726-3845, more particularly
described as: Block 1438, Lot C17-7, Assessor's Parcel No.
28-01438-0000-00001-0000-C17-7, in the Town of Manalapan, Monmouth County, New
Jersey, being the same property that was described in a deed recorded as Instrument No.
2006078024 in Book 8565, Page 5411. The current record title holders of this property
are Alexander Brazhnikov, Zhanna Polonskaya & Alexandre Brajnikov.

b) All that lot or parcel of land, together with its buildings, appurtenances, improvements,
fixtures, attachments and easements, located at 234 Central Avenue, Mountainside, New
Jersey 07092-1950, more particularly described as: Block 5.T, Lot 65, in the Borough of
Mountainside, Union County, New Jersey, being the same property that was described in
a grant deed recorded as Instrument No. 227337 in Book 5880, Page 619. The current
record title holders of this property are Alexander Brazhnikov and Zhanna Polonskaya.

2.   BANK ACCOUNT(S)

a)     Up to a total of $2,000,000.00, contained in account number
CY29005004820004820731718301 held in the name of Alexander Brazhnikov at
Hellenic Bank Public Company, Ltd., Nicosia, Cyprus.

b)    Up to a total of $1,880,000.00 in Sberbank Of Russia's interbank or correspondent
bank account numbers 0004403077 and 0004169401, held at Deustche Bank Trust
Company Americas; and/or account number 8900057610 held at The Bank of New York
Mellon; or any other correspondent accounts maintained by Sberbank of Russia at JP
Morgan Chase Bank, Wells Fargo, or Bank Of America In The United States.

If any of the above-described forfeitable property, as a result of any act or omission of the
defendant(s):

(1) cannot be located upon the exercise of due diligence;
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(2) has been   transferred or sold to, or deposited with, a third person;
(3) has been   placed beyond the jurisdiction of the Court;
(4) has been   substantially diminished in value; or
(5) has been   commingled with other property which cannot be subdivided without
difficulty;

it is the intent of the United States, pursuant to Title 18, United States Code, Section
982(b), to seek forfeiture of any other property of said defendant up to the value of the
above forfeitable property.

      All in violation of Title 18, United States Code, Sections 982 and 1956.




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